  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 1 of 28 PageID #: 1




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 CANDID CARE CO.,                                   )
                                                    )
                          Plaintiff,                )
                                                    )   C.A. No. __________
            v.                                      )
                                                    )   DEMAND FOR JURY TRIAL
 SMILEDIRECTCLUB, LLC,                              )
                                                    )
                          Defendant.                )


                      COMPLAINT FOR DECLARATORY JUDGMENT

                 Plaintiff Candid Care Co. (“Candid”), by and through its counsel, files this

complaint against SmileDirectClub, LLC (“SDC” or “SmileDirectClub”) for a declaratory

judgment that claim preclusion and issue preclusion bar SDC from asserting infringement of U.S.

Patent No. 10,861,599 (“the ’599 patent”) against Candid or, in the alternative, for a declaratory

judgment that each claim of the ’599 patent is invalid and/or not infringed. The ’599 patent is

attached as Exhibit 1.

                                         INTRODUCTION

                 1.      This is an action for a declaratory judgment arising under the patent laws of

the United States, Title 35 of the United States Code. Candid seeks a declaratory judgment that

claim preclusion and issue preclusion bar SDC from asserting infringement of the ’599 patent

against Candid. In the alternative, Candid seeks a declaratory judgment that each claim of the ’599

patent is invalid and/or not infringed. The action arises from a real and immediate controversy

between SDC and Candid as to whether Candid infringes any valid claim of the ’599 patent.

                 2.      This is not the first lawsuit between SDC and Candid, and, as discussed

below, not even the first lawsuit between these parties on patent claims directed to the same patent-

ineligible subject matter.
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 2 of 28 PageID #: 2




               3.      SDC filed its first lawsuit against Candid in the Supreme Court of the State

of New York on April 5, 2018, asserting baseless claims of misappropriation of confidential and

proprietary business information and trade secrets, unfair competition, aiding and abetting breach

of fiduciary duty, and tortious interference with contract. See SmileDirectClub, LLC v. Candid

Care Co., Index No. 651637/2018, Doc. No. 2 (Sup. Ct. of New York County) (“New York

Lawsuit”). Candid moved to dismiss the complaint on May 9, 2018. On September 7, 2018, the

court granted Candid’s motion to dismiss, stating that it had “rarely seen a more meritless claim.”

New York Lawsuit, Doc. No. 91 (attached as Exhibit 2) at 12:19-20; see also id. at 15:4-7 (“Your

complaint is dismissed. Thank you very much. That’s with prejudice too. This case is just trying

to put a competitor out of business.”). SDC did not appeal that decision.

               4.      Two years later, on April 29, 2020, SDC filed a patent infringement lawsuit

against Candid in this Court, asserting infringement of U.S. Patent No. 10,636,522 (“the ’522

patent”). See SmileDirectClub, LLC v. Candid Care Co., C.A. No. 20-583-CFC (D. Del.) (“First

Delaware Lawsuit”). A copy of the ’522 patent is attached as Exhibit 3. On June 19, 2020, Candid

moved to dismiss that complaint under Rule 12(b)(6) for failure to state a claim because the ’522

patent claims are directed to the patent-ineligible abstract idea of teleorthodontics: providing dental

aligners directly to the patient without the patient ever physically seeing a dentist or orthodontist.

See First Delaware Lawsuit, D.I. 12, 13.

               5.      SDC filed a motion for a preliminary injunction on October 27, 2020—six

months after filing of the complaint and three months after briefing on Candid’s motion to dismiss

was complete. See First Delaware Lawsuit, D.I. 22, 23. The Court held a conference on

November 4, 2020, during which it noted that the ’522 patent “is by far, of all the patents I have

come across, the one that strikes me as suspect. I just find it really hard to understand how this




                                                  2
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 3 of 28 PageID #: 3




patent is an allowed patent.” First Delaware Lawsuit, D.I. 29 at 10:10-13. On December 7, 2020,

the Court granted Candid’s motion to dismiss, finding each claim of the ’522 patent invalid as

directed to patent-ineligible subject matter. See First Delaware Lawsuit, D.I. 50, 51. A copy of

that written decision is attached as Exhibit 4.

               6.      In the First Delaware Lawsuit, SDC relied on U.S. Patent Application

No. 16/859,950 (“the ’950 application”) in support of its position that the claims of the ’522 patent

are not directed to patent-ineligible subject matter. See First Delaware Lawsuit, D.I. 21; see also

D.I. 23 at 11-12. The ’950 application issued as the ’599 patent, which is the subject of the instant

action. The ’599 patent is a continuation of the ’522 patent, and as described by SDC, “contains

substantially similar claims to [the claims of the ’522 patent]. … For instance, claim 20 of the ’950

application [which issued as claim 16 of the ’599 patent] and claim 1 of the ’522 patent both claim

the near identical methods for producing aligners.” First Delaware Lawsuit, D.I. 23 at 11-12; see

also D.I. 29 at 12:5-18 (SDC’s counsel representing that the ’522 patent claims are “very, very

similar, if not identical,” to the ’599 patent claims). Indeed, a redline comparison of claims 1-10

of the ’522 patent and claims 16-25 of the ’599 patent, attached as Exhibit 5, demonstrates that the

two sets of claims are nearly identical, with only superficial differences that are immaterial to the

question of patent ineligibility under 35 U.S.C. § 101. Claims 1-15 of the ’599 patent are also

substantially the same as invalid claims of the ’522 patent for all purposes germane to patent

ineligibility under 35 U.S.C. § 101.

               7.      In the First Delaware Lawsuit, SDC expressly stated that it intended to

pursue a claim for infringement of the ’599 patent against Candid before this Court upon the

patent’s issuance. See First Delaware Lawsuit, D.I. 23 at 12 n.1. Candid thus anticipated

defending against SDC’s allegations of infringement of the ’599 patent in this Court.




                                                  3
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 4 of 28 PageID #: 4




               8.      The ’599 patent issued on December 8, 2020. That same day, SDC filed a

lawsuit in the United States District Court for the Western District of Texas asserting infringement

of the ’599 patent against Candid for the same accused business practices that SDC had accused

of infringing the ’522 patent in the First Delaware Lawsuit, i.e., Candid’s Studio business model

and workflow.       See SmileDirectClub, LLC v. Candid Care Co., No. 6:20-cv-1115, D.I. 1

(W.D. Tex. Dec. 8, 2020) (“Texas Lawsuit”). A copy of that complaint is attached as Exhibit 6.

               9.      SDC’s Texas Lawsuit is a blatant forum-shopping attempt to avoid this

Court and its holding that SDC’s ’522 patent claims are directed to patent-ineligible subject matter

under 35 U.S.C. § 101. It also was filed in anticipation of this declaratory judgment action.

Recognizing that asserting the ’599 patent in this District would fail in view of this Court’s holding

in the First Delaware Lawsuit, SDC filed the Texas Lawsuit in an attempt to preempt Candid from

filing of a declaratory judgment action in this Court on the ’599 patent claims. In the interests of

justice and judicial efficiency, any dispute between SDC and Candid concerning the ’599 patent

should be adjudicated in this Court, which is where SDC chose to sue Candid for infringement of

the ’522 patent, and where SDC said it would pursue its infringement claim on the ’599 patent.

               10.     SDC’s actions have created a real and immediate controversy between SDC

and Candid as to whether Candid infringes any valid claim of the ’599 patent. The facts and

allegations recited herein show that there is a real, immediate, and justiciable controversy

concerning these issues.

                                          THE PARTIES

               11.     Plaintiff Candid Care Co. is a Delaware corporation with its principal place

of business in New York, New York.




                                                  4
   Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 5 of 28 PageID #: 5




               12.     On information and belief, SDC is a Tennessee limited liability company

with its principal place of business in Nashville, Tennessee.

               13.     On information and belief, SDC owns the ’599 patent and the ’522 patent.

                                 JURISDICTION AND VENUE

               14.     This action arises under the patent laws of the United States, 35 U.S.C. §§ 1,

et seq., and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

               15.     This Court has subject matter jurisdiction over the claims in this action

pursuant to 28 U.S.C. §§ 1331, 1338, 2201, and 2202.

               16.     This Court can provide the declaratory relief sought in this complaint

because an actual case and controversy exists between the parties within the scope of this Court’s

jurisdiction pursuant to 28 U.S.C. § 2201. An actual case and controversy exists at least because

SDC has accused Candid of infringing one or more claims of the ’599 patent, which Candid denies.

Claim preclusion and issue preclusion bar SDC from pursuing its claim for infringement of the

’599 patent. Moreover, Candid does not infringe and has not infringed any valid claim of the ’599

patent.

               17.     SDC’s actions thus have created a real, live, immediate, and justiciable case

or controversy between SDC and Candid.

               18.     SDC has established sufficient minimum contacts with this District such

that SDC is subject to specific personal jurisdiction. Further, the exercise of personal jurisdiction

based on these pertinent contacts does not offend traditional notions of fairness and substantial

justice.

               19.     For example, this Court has personal jurisdiction over SDC because SDC

has engaged in judicial patent enforcement against Candid in this District with respect to the




                                                 5
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 6 of 28 PageID #: 6




closely-related ’522 patent—namely, the First Delaware Lawsuit. Further supporting personal

jurisdiction, SDC expressly stated that it intended to add the ’599 patent to the First Delaware

Lawsuit upon its issuance.

                20.     Moreover, SDC has consciously and purposefully directed allegations of

infringement of the ’599 patent and related patents toward Candid, a company organized under the

laws of Delaware.

                21.     Venue is proper in this District under 28 U.S.C. § 1391 because venue in

declaratory judgment actions relating to invalidity and noninfringement of patents is determined

under the general venue statute 28 U.S.C. § 1391.

                22.     Under 28 U.S.C. § 1391(b)(1), venue is proper in any judicial district where

a defendant resides. Under 28 U.S.C. § 1391(c)(2), an entity with the capacity to sue and be sued

shall be deemed to reside in any judicial district in which such defendant is subject to the court’s

personal jurisdiction with respect to the civil action in question. Accordingly, since SDC is subject

to personal jurisdiction with respect to this action in this District, then, at least for purposes of this

action, SDC resides in this District and venue is proper under 28 U.S.C. § 1391.

                23.     Under 28 U.S.C. § 1391(b)(2), venue is proper in any judicial district in

which a substantial part of the events giving rise to the claim occurred. The First Delaware Lawsuit

gives rise to the claim and issue preclusion claims in this case, in particular, SDC’s filing of the

First Delaware Lawsuit on substantially identical patent claims as the ’599 patent and SDC’s

expressed intention to assert the ’599 patent in this District. Thus, venue is proper in this District

for at least that additional reason.




                                                    6
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 7 of 28 PageID #: 7




                                   FACTUAL BACKGROUND

               24.     SmileDirectClub, formerly named SmileCareClub, was founded in 2014.

See Exhibit 6 at ¶ 15; see also Exhibit 9 (“SmileCareClub is Now SmileDirectClub,”

SmileDirectClub Blog Post (dated March 30, 2016)). SDC provides teleorthodontic services by

connecting patients with dental professionals for clear aligner therapy without the dental

professional ever physically seeing the patient. See, e.g., First Delaware Lawsuit, D.I. 1 at

¶¶ 19-24.

               25.     SDC’s teleorthodontics business model includes the following steps, which

SDC has practiced since before June 21, 2016 (one year before the earliest possible effective filing

date of the ’599 patent claims).

               26.     First, the patient takes a smile assessment which allows a dental

professional to determine if SDC’s product offering is available to the patient. See, e.g., Exhibit 10

(SDC’s “How It Works” webpage (archived March 17, 2015)); Exhibit 11 at 2 (“Product Profile:

Invisible Aligners,” Decisions in Dentistry (dated October 5, 2015)); Exhibit 12 at 4 (SDC’s

“Buyer’s Guide” (available as of at least April 5, 2016)).

               27.     Second, if the assessment indicates the patient is a candidate for treatment

with SDC, an impression kit is sent to the patient’s home. The patient creates his/her dental

impressions using the provided kit and mails them back to SDC where its lab will use the

impressions to create a three-dimensional model of the patient’s teeth. See, e.g., Exhibit 10;

Exhibit 11 at 2; Exhibit 12 at 4. Alternatively, instead of creating impressions with the at-home

kit, a patient could schedule an appointment with a SmileTech or SmileGuide (a non-dentist

technician) for an intraoral scan of the patient’s mouth. See, e.g., Exhibit 11 at 2; Exhibit 12 at 4;

Exhibit 13 at 33-34 (“SmileCareClub: Where are they now?,” The Progressive Orthodontist




                                                  7
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 8 of 28 PageID #: 8




(Q1 2016)); Exhibit 14 (“What is the SmileCareClub Onsite Scan?,” SDC Blog Post (dated

Jan. 25, 2016)); Exhibit 15 (“Where can I find SmileCareClub locations?,” SDC Blog Post (dated

Feb. 23, 2016)); Exhibit 16 (SDC Twitter Reply Post dated May 27, 2016). This intraoral scan

could be at the patient’s home, office, or other location, such as an SDC SmileShop. See id. These

scans are conducted by technicians who are not dentists or orthodontists. See, e.g., Exhibit 13

at 33-34; Exhibit 14; Exhibit 15. Prior to June 21, 2016, SDC was operating SmileShops in

numerous locations, including, among others, New York, Washington, D.C., and Nashville,

Tennessee. See, e.g., Exhibit 16.

               28.        Third, a state-licensed, board-certified dentist or orthodontist will work with

SDC to create the patient’s personal treatment plan based on the three-dimensional data of the

patient’s mouth, obtained from either the impressions or the data from the intraoral scan. See, e.g.,

Exhibit 10; Exhibit 12 at 4-5; Exhibit 14; Exhibit 15; Exhibit 17 (SDC’s “Custom Treatment Plans”

webpage (archived April 18, 2015)). This approval is given without the dentist or orthodontist

having physically seen the patient. See, e.g., Exhibit 9 at 2; Exhibit 11 at 1-2; Exhibit 14;

Exhibit 15; Exhibit 18 at 2-3 (SDC’s “Frequent Questions” webpage (archived March 17, 2015));

Exhibit 19 (SDC Twitter Reply Post dated June 22, 2016).

               29.        Fourth, after the dentist or orthodontist creates and approves the patient’s

customized treatment plan, the treatment plan is sent to the patient for approval. At that time, the

patient decides whether to purchase the aligners according to the plan and proceed with treatment.

See, e.g., Exhibit 11 at 2; Exhibit 12 at 4-5; Exhibit 17; Exhibit 18 at 2; see also Exhibit 20 (Screen

captures of YouTube Video titled “SmileCareClub FOLLOWUP 3D Plan,” published by Jamin

Journeys         (dated          March          15,        2016))        and         available        at

https://www.youtube.com/watch?v=pw1kAWqQv5I.




                                                      8
  Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 9 of 28 PageID #: 9




               30.     Fifth, if the patient decides to proceed with the treatment, the dentist or

orthodontist will prescribe the treatment plan and the aligners will be manufactured in accordance

with the treatment plan. See, e.g., Exhibit 10; Exhibit 12 at 4-5. The aligners are configured to

move one or more of the patient’s teeth according to the treatment plan. See, e.g., Exhibit 18 at 1.

               31.     Sixth, once the aligners are manufactured, they are shipped directly to the

patient. See, e.g., Exhibit 11 at 2; Exhibit 20 at 1. The patient thus receives orthodontic treatment

without ever having physically seen the dentist or orthodontist. See, e.g., Exhibit 11 at 2;

Exhibit 12 at 3-4; Exhibit 18 at 2-3.

               32.     Candid was founded in 2017. Candid provides clear aligner treatment with

remote monitoring by an orthodontist.

               33.     On April 8, 2018, SDC filed a complaint in the Supreme Court of the State

of New York, County of New York, asserting baseless claims against Candid for misappropriation

of confidential and proprietary business information and trade secrets, unfair competition, aiding

and abetting breach of fiduciary duty, and tortious interference with contract. See New York

Lawsuit, Doc. No. 2. SDC moved for a temporary restraining order and preliminary injunction on

May 8, 2018. See New York Lawsuit, Doc. Nos. 19, 20. Candid moved to dismiss the case on

May 9, 2018. See New York Lawsuit, Doc. Nos. 39, 40. On June 14, 2018, the court denied

SDC’s motions for a temporary restraining order and preliminary injunction. See New York

Lawsuit, Doc. Nos. 71, 72. On August 27, 2018, the court granted Candid’s motion to dismiss,

recognizing that it had “rarely seen a more meritless case.” New York Lawsuit, Doc. No. 91

(attached as Exhibit 2).

               34.     On September 13, 2018, SDC filed U.S. Patent Application No. 16/130,762,

which issued as the ’522 patent on April 28, 2020. The ’522 patent purports to be a continuation-




                                                 9
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 10 of 28 PageID #: 10




in-part of U.S. Patent Application No. 15/725,430, filed on October 5, 2017, and claims priority

to U.S. Provisional Application No. 62/660,141, filed on April 19, 2018, and U.S. Provisional

Application No. 62/522,847, filed on June 21, 2017. See Exhibit 3.

               35.     On April 27, 2020, SDC filed U.S. Patent Application No. 16/859,950,

which issued as the ’599 patent on December 8, 2020. See Exhibit 1. The ’599 patent purports to

be a continuation of the ’522 patent. See id.

               36.     On April 29, 2020, SmileDirectClub filed a complaint in this District

asserting that Candid’s Studio business model and workflow infringe claims of the ’522 patent.

See First Delaware Lawsuit, D.I. 1. In its complaint, SDC asserted that the ’522 patent claims are

directed to, and cover, its SmileShop business concept. See, e.g., id. at ¶¶ 3-4, 14, 16, 19, 24, 25,

33.

               37.     Candid moved to dismiss the complaint on June 19, 2020. See First

Delaware Lawsuit, D.I. 12, 13. In particular, Candid demonstrated that each claim of the ’522

patent is invalid for claiming the patent-ineligible abstract idea of teleorthodontics: providing

dental aligners directly to the patient without the patient ever physically seeing a dentist or

orthodontist. See First Delaware Lawsuit, D.I. 13 at 1. Candid further demonstrated that no claim

includes an inventive concept that would transform the abstract idea into patent-eligible subject

matter; instead, the claims implement the abstract idea using well-known systems and the off-the-

shelf equipment such as an iTero® intraoral scanner. See id. at 1, 13, 19-22.

               38.     SDC filed a motion for preliminary injunction on October 27, 2020—six

months after filing of the complaint and three months after briefing on Candid’s motion to dismiss

was complete. See First Delaware Lawsuit, D.I. 22, 23. In its supporting brief, SDC averred that




                                                 10
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 11 of 28 PageID #: 11




the ’522 patent claims are “substantially similar” to the ’599 patent claims and “claim the near

identical methods for producing aligners”:

               Relevant to this issue is the United States Patent and Trademark
               Office’s (“USPTO”) recent confirmation of the validity of the ’522
               patent as it relates to 35 U.S.C. § 101 vis-à-vis a related patent
               application. The USPTO recently granted SDC’s U.S. Application
               No. 16/859,950 (“the ’950 application”) [which issued as the ’599
               patent], a continuation of the ’522 patent that contains substantially
               similar claims to those asserted here. … For instance, claim 20 of
               the ’950 application [issued claim 16 of the ’599 patent] and claim 1
               of the ’522 patent both claim the near identical methods for
               producing aligners.

First Delaware Lawsuit, D.I. 23 at 11-12 (citations and footnote omitted). SDC also told the Court

that it would be adding the ’599 patent to the First Delaware Lawsuit. See id. at 12 n.1.

               39.     The Court held a conference on November 4, 2020, during which it

commented that the ’522 patent “is by far, of all the patents I have come across, the one that strikes

me as suspect. I just find it really hard to understand how this patent is an allowed patent.” First

Delaware Lawsuit, D.I. 29 at 10:10-13. At that conference, SDC again reiterated the substantial

similarity between the claims of the ’599 and ’522 patents, stating the ’522 patent claims are “very,

very similar, if not identical,” to the ’599 patent claims. Id. at 12:5-18.

               40.     On December 7, 2020, the Court issued a written opinion finding each claim

of the ’522 patent invalid under 35 U.S.C. § 101 as directed to patent-ineligible subject matter.

See First Delaware Lawsuit, D.I. 50 (attached as Exhibit 4). On that basis the Court granted

Candid’s motion to dismiss. See First Delaware Lawsuit, D.I. 51. In its written opinion, the Court

agreed with Candid that the ’522 patent claims “are directed to the abstract idea of

‘teleorthodontics’ and do not contain any inventive concept.” First Delaware Lawsuit, D.I. 50 at 9.

The Court found that the ’522 patent claims a general workflow, i.e., “claims systems and method

by which a patient’s intraoral scan is scheduled, performed, and used to create aligners and the



                                                  11
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 12 of 28 PageID #: 12




patient receives orthodontic treatment without ever interacting in person with a dentist or

orthodontist,” id. at 2, and that all of the ’522 patent claims are substantially similar and recite

permutations of the same workflow. See id. at 5, 9.

                41.     The next day, on December 8, 2020, SDC filed a complaint in the United

States District Court for the Western District of Texas, asserting infringement of “at least” claim 16

of the ’599 patent. See Texas Lawsuit, D.I. 1 at ¶¶ 53, 58. The complaint does not identify any

claims other than claim 16. See generally id.

                42.     The Texas Lawsuit is the latest in a pattern of baseless lawsuits that SDC

has filed against Candid. See New York Lawsuit, Doc. No. 91 at 12:19-20, 15:4-7 (court

expressing that it had rarely seen a more meritless case, and dismissing the case); First Delaware

Lawsuit, D.I. 50, 51 (this Court dismissing the case because the asserted ’522 patent was ineligible

for claiming an abstract idea and commenting that of all the patents it has come across, the

’522 patent struck it as the most suspect and that the Court could not understand how it was an

allowed patent); Texas Lawsuit, D.I. 1 (SmileDirectClub filing a lawsuit on a patent it has admitted

is “very, very similar, if not identical” to the invalid ’522 patent).

                43.     The only reasonable inference for why SDC filed its infringement complaint

on the ’599 patent in the United States District Court for the Western District of Texas is because

it hopes to avoid this District’s adverse ruling on the admittedly “very, very similar, if not

identical” patent claims of the ’522 patent. Indeed, SDC is a Tennessee limited liability company

with its principal place of business in Tennessee—not Texas (see Texas Lawsuit, D.I. 1 at ¶ 12)—

and Candid is a Delaware corporation with its principal place of business in New York—again,

not Texas.




                                                  12
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 13 of 28 PageID #: 13




                                 CLAIM FOR RELIEF
             (Declaratory Judgment that Claim Preclusion and Issue Preclusion
                 Bar SDC From Asserting the ’599 Patent against Candid)

               44.     Candid repeats and realleges each and every allegation contained in

paragraphs 1-43 as though fully set forth herein.

               45.     SDC is precluded under the doctrines of claim preclusion and issue

preclusion from asserting infringement of the ’599 patent against Candid.

               46.     Claim preclusion, also known as res judicata, applies because there was

(1) a final judgment on the merits in the First Delaware Lawsuit involving (2) the same parties,

SDC and Candid, and (3) the present case is based on the same cause of action as the First Delaware

Lawsuit, namely, whether Candid’s Studio business model and workflow infringes a SDC patent

that purportedly covers its SmileShop business model.

               47.     Issue preclusion, also known as collateral estoppel, applies because (1) the

identical issue of patent ineligibility under 35 U.S.C. § 101 was previously adjudicated in the First

Delaware Lawsuit, (2) that issue was actually litigated, with briefing and argument from both sides,

(3) the previous determination was necessary to the Court’s decision to dismiss the First Delaware

Lawsuit, and (4) the party being precluded from relitigating the issue, SDC, was fully represented

in the First Delaware Lawsuit.

               48.     The ’599 patent is a continuation of, and shares the same specification as,

the ’522 patent that SDC asserted against Candid in the First Delaware Lawsuit. This Court held

that all of the claims of the ’522 patent were invalid for claiming the patent-ineligible abstract idea

of teleorthodontics: providing dental aligners directly to the patient without the patient ever

physically seeing a dentist or orthodontist, and for containing no inventive concept that transforms

that abstract idea into patent-eligible subject matter.




                                                  13
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 14 of 28 PageID #: 14




                 49.   Claims 1-25 of the ’599 patent are substantially similar to the invalidated

claims of the ’522 patent, and any difference between the ’599 patent claims and the ’522 patent

claims does not materially alter the question of invalidity under 35 U.S.C. § 101. The ’599 patent

claims use slightly different language to describe substantially the same alleged invention.

SDC has made express representations to this Court that the ’599 patent claims are “substantially

similar,” and “near identical,” to those in the ’522 patent. Accordingly, the claims of the

’599 patent are invalid under 35 U.S.C. § 101 for being directed to a patent-ineligible abstract idea,

and SDC is collaterally estopped from arguing the claims of the ’599 patent are valid.

                 50.   A final judgment on the merits was issued in the First Delaware Lawsuit as

to virtually identical claims as the ’599 patent. The same parties, namely Candid and SDC, are

involved in this case and the First Delaware Lawsuit. This suit is based on the same cause of

action—i.e., alleged infringement by Candid’s same products and/or services and invalidity of

claims of the ’599 patent that are essentially the same in scope as the ’522 patent held to be invalid

by this Court.

                 51.   The identical issue of the validity of the ’599 patent was previously

adjudicated in the First Delaware Lawsuit vis-à-vis the virtually identical claims of the ’522 patent.

The issue of the validity of these virtually identical claims was actually litigated, and this Court

held those claims invalid as being directed to a patent-ineligible abstract. The previous decision

of this Court as to the validity of those virtually identical claims was necessary to, and squarely

addressed, by its decision in the First Delaware Lawsuit. SDC was fully represented in the First

Delaware Lawsuit.

                 52.   In view of the facts and allegations set forth above, there is an actual,

justiciable, substantial, and immediate controversy between Candid on the one hand, and SDC on




                                                 14
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 15 of 28 PageID #: 15




the other, regarding whether SDC is precluded from asserting infringement of any claims of the

’599 patent.

               53.     Candid therefore seeks a judgment declaring that claim preclusion and issue

preclusion bar SDC from asserting infringement of any claims of the ’599 patent against Candid.


                       ALTERNATIVE CLAIM FOR RELIEF
(Declaratory Judgment that Candid Does Not Infringe Any Valid Claim of the ’599 Patent)

               54.     Candid repeats and realleges each and every allegation contained in

paragraphs 1-43 as though fully set forth herein.

               55.     Candid provides this alternative claim for relief in the event the Court does

not find that claim preclusion and/or issue preclusion bar SDC from asserting the ’599 patent

against Candid.

               56.     Claims 1-25 of the ’599 patent are invalid under one or more of 35 U.S.C.

§§ 101, 102, 103, and 112 and the doctrines of double patenting. Further, Candid has not infringed

any of claims 1-25 of the ’599 patent, either directly or indirectly, literally or under the doctrine of

equivalents.

               Invalidity Due to Patent-Ineligible Subject Matter Under 35 U.S.C. § 101

               57.     Claims 1-25 of the ’599 patent are invalid under 35 U.S.C. § 101 because

they are directed to the patent-ineligible abstract idea of teleorthodontics: providing dental aligners

directly to the patient without the patient ever physically seeing a dentist or orthodontist, and for

containing no inventive concept that transforms that abstract idea into patent-eligible subject

matter. In particular, the claims of the ’599 patent are directed to the abstract workflow of

providing clear-aligner treatment to a patient, including: scheduling an appointment for an intraoral

scan of a patient’s mouth, conducting the intraoral scan, generating a treatment plan for clear




                                                  15
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 16 of 28 PageID #: 16




aligner therapy, producing aligners in accordance with the plan, and shipping the aligners directly

to the patient without the patient ever having physically seen a dentist or orthodontist.

               58.     There is no concrete or tangible form to the claimed invention of the ’599

patent. Instead, the claims of the ’599 patent are directed to a standard business practice

implemented using routine and conventional technology, such as generic computing systems and

off-the-shelf intraoral scanners that SDC concedes it did not invent and were known in the art.

The ’599 patent specification itself explains that the technology used in the claimed workflow,

including the intraoral scanner, was routine and/or well-understood in the art.

               59.     Candid is entitled to judgment declaring that claims 1-25 of the ’599 patent

are invalid under 35 U.S.C. § 101 for being directed to a patent-ineligible abstract idea.

               Invalidity Due to Double Patenting

               60.     In addition, claims 1-25 of the ’599 patent are invalid for double patenting,

either statutory double patenting under 35 U.S.C. § 101 or obviousness-type double patenting.

               61.     Claims 16-25 of ’599 patent claims use slightly different language than

claims 1-10 of the ’522 patent to describe substantially the same alleged invention. SDC has made

express representations to this Court that the ’599 patent claims are “substantially similar,” and

“near identical,” to those in the ’522 patent. The superficial differences between claims 16-25 of

the ’599 patent and claims 1-10 of the ’522 patent are shown in attached Exhibit 5.

               62.     Claims 16-25 of the ’599 patent are invalid under 35 U.S.C. § 101 for

statutory double-patenting and/or obviousness-type double patenting over claims 1-10 of the ’522

patent because claims 16-25 of the ’599 patent could not be infringed without also infringing

claims 1-10 of the ’522 patent, and vice versa.




                                                  16
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 17 of 28 PageID #: 17




                 63.    Claims 1-15 of the ’599 patent are invalid for obviousness-type double-

patenting over claims 1-30 of the ’522 patent because claims 1-15 of the ’599 patent are at most

obvious variants of claims 1-30 of the ’522 patent.

                 64.    Candid therefore seeks a judgment declaring that claims 1-25 of the ’599

patent are invalid under 35 U.S.C. § 101 for double-patenting over claims of the ’522 patent.

                 Invalidity Under 35 U.S.C. §§ 102 and/or 103

                 65.    Each of claims 1-25 of the ’599 patent is further invalid under 35 U.S.C.

§§ 102 and/or 103. As a non-limiting example, the claims of the ’599 patent are invalid under the

prior public use and/or on-sale bars of 35 U.S.C. § 102, and/or rendered obvious over those prior

uses, offers for sale, and/or sales in view of the state of the art.

                 66.    The filing date of the ’599 patent is April 27, 2020. The earliest possible

priority date for the ’599 patent claims (which Candid does not concede that any of the claims are

entitled to) is June 21, 2017. The earliest possible critical date for the on-sale/prior use bar is

June 21, 2016.

                 67.    SDC has represented that the ’522 patent is directed to and claims its

SmileShop teledentistry platform. See, e.g., First Delaware Lawsuit, D.I. 1 at ¶ 4 (“including the

… SmileShop® business model that SDC innovated and protected with the ’522 patent”), ¶ 28

(“SDC’s patented technology, delivered through its SmileShop® locations …”); D.I. 23 at 19

(“The systems and methods Candid infringes are actually practiced by SDC through its

SmileShop®. … The SmileShop® (and consequently the systems and methods of the ’522 patent)

….”); D.I. 24 (Cicurel Decl.) at ¶ 4 (“The SmileShop® locations offer services and products

claimed by the ’522 patent.”); D.I. 28 (McDuff Decl.) at ¶ 22 (“SDC’s SmileShops … practice the

patented inventions.”); see also Exhibit 8 (“SmileDirectClub today announced it has been issued




                                                   17
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 18 of 28 PageID #: 18




a patent for its SmileShop intellectual property. … The patent encompasses the unique SmileShop

concept and process.”).

                68.    The ’599 patent claims are virtually identical to the ’522 patent claims, and

consequently also purport to cover SDC’s SmileShop concept. Indeed, SDC issued a press release

on December 8, 2020, titled “SmileDirectClub Granted New Patent for SmileShop Retail Concept

and Digital Customer Journey,” which avers that the ’599 patent claims are directed to the

SmileShop business concept. Exhibit 7. In particular, SDC stated in the press release that “it has

secured a second patent from the United States Patent & Trademark Office (”USPTO”) for its

SmileShop retail concept and digital methodology for the delivery of clear aligner treatment to

consumers.” Id.

                69.    SDC admits that it opened a direct-to-consumer SmileShop retail store in

Nashville, Tennessee on May 9, 2016, over one month before the earliest possible on-sale/public

use bar critical date. See SmileDirectClub, LLC v. Bremer, No. 3:19-cv-00525, D.I. 42 (Amended

Complaint) at ¶ 5 (M.D. Tenn.) (“Tennessee Lawsuit”). Other SmileShops were opened in at least

New York and Washington, D.C. prior to June 21, 2016, the earliest possible on-sale/public use

bar critical date.

                70.    SDC also made averments in the Tennessee Lawsuit concerning “each” of

its SmileShops: (1) a patient could visit the SDC website and schedule a free appointment at an

SDC SmileShop location; (2) the appointment would be for the patient to have their teeth and gums

photographically imaged by a “SmileGuide” using a photographic imaging device, an iTero, which

transmits thousands of highly detailed photos turned into a 3D image to a dental lab for the creation

of a draft treatment plan to address the patient’s chief complaint; (3) the data from the scan are

uploaded to SDC’s platform; (4) treating doctor reviews, modifies, and approves the draft




                                                 18
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 19 of 28 PageID #: 19




treatment plan; (5) the 3D treatment plan is uploaded to the patient’s account; (6) the patient may

elect to move forward and approve the treatment plan; (7) the treating doctor authorizes a

prescription order for clear aligners in accordance with the treatment plan; (8) the aligners are

fabricated in accordance with the treatment plan; and (9) the aligners are shipped directly to the

patient. See id. at ¶¶ 19-20. The services were provided without the treating professional ever

seeing the patient. See id. at ¶¶ 18-20.

               71.     The opening of the SmileShops in Nashville, Tennessee, New York, and

Washington, D.C. (as well as any other SmileShops opened prior to June 21, 2016), in addition to

the averments as to the services conducted at “each” SmileShop, establish that the claimed

inventions of the ’599 patent were in public use, offered for sale, and/or on-sale prior to the critical

date, and thus the ’599 patent claims are invalid under 35 U.S.C. § 102 or at least obvious under

35 U.S.C. § 103.

               72.     SDC claims in the Texas Lawsuit that Candid infringes “at least” claim 16

of the ’599 patent. Publicly available information confirms that SDC was practicing all of the

steps of that and other claims of the ’599 patent prior to June 21, 2016.

               73.     For example, the claim 16 preamble recites: “A method of producing

aligners for repositioning one or more teeth of a user, the method comprising.” Prior to June 21,

2016, SDC manufactured clear aligners for repositioning one or more teeth of a user, and provided

services for providing those aligners to its patients. See, e.g., Exhibit 11; Exhibit 12; Exhibit 15;

Exhibit 18.




                                                  19
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 20 of 28 PageID #: 20




               74.     The next limitation of claim 16 of the ’599 patent recites: “receiving, by an

appointment management system, a request to schedule an appointment at an intraoral scanning

site, the intraoral scanning site having an intraoral scanner configured to scan a mouth of a user,

the appointment being for a technician to conduct an intraoral scan of the mouth of the user at the

intraoral scanning site without a dentist or orthodontist physically seeing the user during the

scheduled appointment.” Also, the claim recites “scheduling, by the appointment management

system, the appointment at the intraoral scanning site based on the request.”                Prior to

June 21, 2016, a patient could book an appointment for an intraoral scan of his/her mouth and teeth

either at the patient’s home or office or at a SmileShop. See, e.g., Exhibit 11 at 2; Exhibit 12 at 4;

Exhibit 14; Exhibit 15; Exhibit 21. SDC advertised that “A SmileTech will meet you at your home

or workplace for a quick, 30-minute appointment to capture a 3D image of your smile. … If you’re




                                                 20
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 21 of 28 PageID #: 21




in a scanning city, you’ll be taken to a page to book your scan after completing your assessment.”

Exhibit 15 (emphasis added).




Similarly, SDC advertised that patients could book an appointment at a SmileShop for the same

scanning services: “Click to book today!” See, e.g., Exhibit 21.




               75.    The scan would be conducted by a SmileTech or SmileGuide who was a

non-dentist/non-orthodontist technician. See, e.g., Exhibit 13 at 33-34; Exhibit 14. The SmileTech

or SmileGuide could be, for example, a dental assistant, dental hygienist, or home health aide.

See id.




                                               21
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 22 of 28 PageID #: 22




               76.    Claim 16 next recites “generating and causing transmission of, by the

appointment management system, a message to a device of the user, the message including a

confirmation confirming the scheduled appointment.” Prior to June 21, 2016, on information and

belief, a patient would have received a message confirming the scheduled appointment. As

indicated above, a patient could book an appointment, and it is certain the patient would have

received an indication that the appointment was booked at the time of booking, and/or an email

message confirming the booking of the appointment.

               77.    Claim 16 next recites “conducting, using the intraoral scanner, the intraoral

scan at the intraoral scanning site during the scheduled appointment, the intraoral scan generating

three-dimensional data of the mouth of the user.” Prior to June 21, 2016, the SmileTech or

SmileGuide uses an intraoral scanner at the patient’s home or office, or at the SmileShop, during

the scheduled appointment. See, e.g., Exhibit 13 at 33-34; Exhibit 14; Exhibit 15; Exhibit 22. The

intraoral scanner generates three-dimensional data of the mouth of the user. See, e.g., Exhibit 13

at 33-34; Exhibit 14; Exhibit 15; Exhibit 22.




                                                22
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 23 of 28 PageID #: 23




                78.    Claim 16 next recites “causing generation of, by a treatment plan computing

system located at a treatment plan site, a treatment plan for the user based on the three-dimensional

data.” Prior to June 21, 2016, SDC provided services to generate a treatment plan based on the

three-dimensional data of the mouth of the patient. See, e.g., Exhibit 11 at 1, 2; Exhibit 12 at 4;

Exhibit   14;    Exhibit    15;    Exhibit   17;      Exhibit   20   at   2    and    available   at

https://www.youtube.com/watch?v=pw1kAWqQv5I.




                79.    Claim 16 next recites “receiving an indication of an approval of the

treatment plan by a dentist or an orthodontist, wherein the approval is received without the

approving dentist or orthodontist having physically seen the user.” Prior to June 21, 2016, a dentist


                                                 23
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 24 of 28 PageID #: 24




or orthodontist would approve the treatment and the treatment plan would be sent to the patient for

review and approval. See, e.g., Exhibit 10; Exhibit 11 at 1, 2; Exhibit 12 at 3-5; Exhibit 14;

Exhibit 15; Exhibit 17; Exhibit 18 at 2-3. If the patient approved the plan and chose to proceed

with treatment, the dentist or orthodontist would prescribe the treatment plan, and would do so

without having physically seen the patient. See, e.g., Exhibit 10; Exhibit 11 at 1, 2; Exhibit 12

at 3-5; Exhibit 14; Exhibit 15; Exhibit 17; Exhibit 18 at 2-3.




               80.     Claim 16 next recites “producing, at a fabrication site, a plurality of aligners

based on the treatment plan, the plurality of aligners specific to the user and being configured to

reposition one or more teeth of the user in accordance with the treatment plan.” Prior to

June 21, 2016, SDC produced aligners based on the treatment plan.             See, e.g., Exhibit 10;

Exhibit 11; Exhibit 12 at 4-5; Exhibit 18 at 1-2. The custom aligners are configured to reposition

one or more teeth of the patient in accordance with the treatment plan. See, e.g., Exhibit 10;

Exhibit 11; Exhibit 12 at 4-5; Exhibit 18 at 1-2.




                                                    24
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 25 of 28 PageID #: 25




                81.     Finally, claim 16 recites “sending the plurality of aligners from the

fabrication site directly to the user, wherein the user receives orthodontic treatment without ever

having physically seen the approving dentist or orthodontist.” Prior to June 21, 2016, SDC sent

the aligners directly to the patient such that the patient received the aligners (and orthodontic

treatment) without ever having physically seen the approving dentist or orthodontist.

See, e.g., Exhibit 9 at 2; Exhibit 11 at 2.




                82.     Candid therefore seeks a judgment declaring that claims 1-25 of the ’599

patent are invalid under the public use and/or on-sale bars of 35 U.S.C. § 102 and/or rendered



                                                25
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 26 of 28 PageID #: 26




obvious under 35 U.S.C. § 103 over the prior public use and/or sale of the SmileShop services in

view of the state of the art.

Invalidity Under 35 U.S.C. § 112

                83.     Claims 1-25 of the ’599 patent are invalid under 35 U.S.C. § 112. As a non-

limiting example, the claims lack written description.

                84.     Independent claim 1 includes a negative limitation: “without a dentist or an

orthodontist physically seeing the user at the intraoral scanning site.” Independent claims 8, 12,

and 16 contain similar negative limitations. According to SDC, this limitation is what makes it

business concept unique and differentiates it from competitors such as Align Technology, Inc.,

which offers on-site scanning, but requires a visit with a dentist or orthodontist. See, e.g., First

Delaware Lawsuit, D.I. 28 at ¶¶ 14-15. This limitation also was a key to distinguishing the claims

of the ’522 patent from a competitor’s prior art patent during prosecution. See ’522 patent file

history, 2019-07-17 Amendment, pp. 2, 5, 6, 10, and 14. Despite the supposed importance of this

limitation, the specification of the ’599 patent does not disclose that the user does not physically

see a dentist or orthodontist during the scanning appointment, much less disclose any reason for

excluding having the user physically see a dentist or orthodontist during the scanning appointment.

                85.     For at least this reason, each claim of the ’599 patent is invalid under

35 U.S.C. § 112.

Noninfringement

                86.     Candid does not infringe any valid claim of the ’599 patent, either directly

or indirectly, literally or under the doctrine of equivalents. At the very least, because each of

claims 1-25 is invalid, they cannot be infringed.




                                                 26
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 27 of 28 PageID #: 27




               87.     Candid also does not infringe the claims of the ’599 patent for additional

reasons. As a non-limiting example, Candid does not infringe claims 1-15 because it does not

implement systems or methods for:

               generating and causing transmission of, by the appointment
               management system, a message to a device of the user, the message
               causing a reminder to be presented to the user to remind the user to
               leave for the scheduled appointment, wherein the reminder is
               presented to the user a threshold time prior to the scheduled
               appointment, wherein the threshold time is determined based on a
               location of the user with respect to a location of the intraoral
               scanning site, and further based on at least one of traffic between the
               location of the user and the location of the intraoral scanning site,
               weather, a time of day of the appointment, or a day of the week of
               the appointment

as recited in independent claim 1 or the analogous limitations of independent claims 8 and 12.

               88.     In view of the facts and allegations set forth above, there is an actual,

justiciable, substantial, and immediate controversy between Candid on the one hand, and SDC on

the other, regarding whether Candid infringes any valid claim of the ’599 patent.

               89.     Candid therefore seeks a judgment declaring that it does not infringe any

valid claim of the ’599 patent.

                                    PRAYER FOR RELIEF

               Candid respectfully requests the following relief:

               A.      That the Court enter judgment declaring that claim preclusion and/or issue

preclusion bar SDC from asserting that Candid infringes any claims of the ’599 patent;

               B.      That, in the alternative to the relief requested in A, the Court enter judgment

declaring that the claims of the ’599 patent are invalid under one or more of 35 U.S.C. §§ 101,

102, 103, and 112 or the doctrines of double patenting;




                                                 27
 Case 1:20-cv-01764-CFC Document 1 Filed 12/23/20 Page 28 of 28 PageID #: 28




                C.       That, in the alternative to the relief requested in A, the Court enter judgment

declaring that Candid has not infringed and does not infringe any valid claim of the ’599 patent,

either directly or indirectly, literally or under the doctrine of equivalents;

                D.       That the Court declare that this case is exceptional under 35 U.S.C. § 285

and award Candid its attorneys’ fees, costs, and expenses incurred in this action and the related

Texas Lawsuit;

                E.       That the Court award Candid any and all other relief to which Candid may

show itself to be entitled; and

                F.       That the Court award Candid any other relief as the Court may deem just,

equitable, and proper.

                                          JURY DEMAND

                Candid hereby demands a jury trial on all issues and claims so triable.


                                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                /s/ Rodger D. Smith II
 OF COUNSEL:
                                                Rodger D. Smith II (#3778)
 Michael P. Sandonato                           Cameron P. Clark (#6647)
 Sean M. McCarthy                               1201 North Market Street
 Joshua D. Calabro                              P.O. Box 1347
 VENABLE LLP                                    Wilmington, DE 19899
 Rockefeller Center                             (302) 658-9200
 1270 6th Avenue                                rsmith@mnat.com
 New York, NY 10020                             cclark@mnat.com
 (212) 307-5500
                                                Attorneys for Plaintiff Candid Care Co.
 Edmund J. Haughey
 VENABLE LLP
 600 Massachusetts Avenue, N.W.
 Washington, DC 20001
 (202) 344-4000

 December 23, 2020



                                                   28
